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                                                                                             Richard Clark, Ü»°«¬§ Ý´»®µò
                                                                                                                   Clerk.




           1   SONIA R. CARVALHO (SBN 162700)                                           Exempt from filingfees per
               CITY ATTORNEY                                                            Government Code section 6103
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           3   RYAN 0. HODGE (SBN 234047)
               ASSISTANT CITY ATTORNEY
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         10    Attorneys for Plaintiff and Real Party in Interest
               PEOPLE OF THE STATE OF CALIFORNIA and CITY OF SANTA ANA
         11
         12                                      SUPERIOR COURT OF CALIFORNIA

         13                           COUNTY OF ORANGE, CENTRAL JUSTICE CENTER
                                                                            Assigned for All
                                                                            Assigned for     Purposes
                                                                                         All Purpose
         14                                                                                                judge Sheila Fell
               CITY OF SANTA ANA, a charter city and     )                     Case No.: 30-2020-01159629-CU-IR-C:IC
         15
               municipal corporation, and PEOPLE OF THE  ))
         16    STATE OF CALIFORNIA, by the City Attorney )                     COMPLAINT FOR:
               for the City of Santa Ana,                )
         17                                              )                    1. Public Nuisance (California Code of
                                                         )                    Civil Procedure § 731; California Civil Code
         18                    Plaintiffs,               )                    §§ 3479, 3480); and
                                                         )
         19            v.                                )
                                                         )                    2. Public Nuisance Per Se
         20    UNION PACIFIC RAILROAD, and DOES 1        )
               through 25 inclusive,                     )
         21                                              )
                               Defendants.               )
         22                                              )
                                                         )
         23                                              )
         24            This action is brought by the PEOPLE OF THE STATE OF CALIFORNIA, by and
         25    through Sonia R. Carvalho, City Attorney for the City of Santa Ana, and the CITY OF SANTA
         26    ANA, a charter city and municipal corporation organized and existing under the Constitution and
         27    laws of the State of California, as Real Party in Interest, (collectively, "City" or "Plaintiff"),
         28    against the UNION PACIFIC RAILROAD ("Union Pacific" or "Defendant") and DOES 1-25,



                 Complaint for 1. Public Nuisance (California Code of Civil Procedure *731; California Civil Code §§3479, 3480); and
                                                              2. Public Nuisance Per Se


                                                                                                                             Exhibit A - 3
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        1   inclusive.
        2                                                  INTRODUCTION
        3           1.        Railroad tracks crisscross several parts of the City of Santa Ana, a city 27 square
        4   miles in size. These tracks border both commercial and residential areas, often within several
        5   feet of business and homes. The tracks border City property as well in places.
        6            2.       Defendant Union Pacific Railroad owns and/or operates several miles of these
        7   railroad tracks in the City, including the underlying and immediately adjacent real property, or
        8   roadbed, on both sides of the tracks (collectively, "Railroad Right-of-Way" or "Railroad ROW").
        9            3.       Given the high volume of Railroad ROW in the City, and its close proximity to
       10   City residents and businesses, the City, as a guardian of public health and safety, has a strong and
       11   legitimate interest to ensure that the Railroad ROW is operated and maintained in an orderly
       12   manner.
       13           4.        As legal owner of the Railroad ROW, Union Pacific has a duty to maintain the
       14   Railroad ROW in a manner that is clean, safe, and secure, whether the respective Railroad ROW
       15   is active or inactive.
       16           5.        In recent months, the volume of litter, debris, and refuse along the Railroad ROW
       17   has skyrocketed. Homeless encampments have mushroomed. Nearby residents and business
       18   owners complain to the City on a regular basis.
       19           6.       Despite the City's repeated requests of Union Pacific to abate these conditions on
       20   its property, Union Pacific rarely, if at all, intervenes, and certainly in no sustained manner.
       21           7.       To protect the public health and safety, the City has been forced to mount clean-
       22   up efforts at its own expense. By this Complaint, the City seeks an order directing Union Pacific
      23    to discharge its duty to maintain the Railroad ROW on an ongoing basis and in a clean, safe,
       24   secure, and sustained manner, including without limitation reimbursement to the City for its past
      25    efforts to do so. The inaction of Union Pacific shows that such a result is not likely to be
      26    voluntarily achieved.
      27    ///
      28    ///

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              Complaint for 1. Public Nuisance (California Code of Civil Procedure §731; California Civil Code §§3479, 3480); and
                                                           2. Public Nuisance Per Se


                                                                                                                          Exhibit A - 4
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        1                                                    THE PARTIES
        2            8.       Plaintiff City of Santa Ana is and at all relevant times has been a charter city and
        3   municipal corporation organized and existing under the Constitution and laws of the State of
        4   California. The City is authorized, pursuant to California Code of Civil Procedure section 731,
        5   to prosecute this action in the name of and on behalf of the People of the State of California.
        6            9.       Defendant Union Pacific Railroad is and at all relevant times has been a
        7   corporation incorporated in the State of Delaware with its principal place of business in
        8   Nebraska.
        9            10.      The true names and capacities of Defendants sued herein as DOES 1 through 25
       10   are unknown to Plaintiff, who therefore sue such Defendants by such fictitious name, and will
       11   amend this Complaint to show their true names and capacities at such times as they are
       12   ascertained. Plaintiffs are informed and believe and thereon allege that each of the Defendants
       13   designated herein as a DOE is legally responsible in some manner for the events and happenings
       14   alleged in this Complaint.
       15            11.      Whenever in this Complaint reference is made to any act of Defendant, such
       16   allegation shall be deemed to mean Defendant's officers, agents, manager, representative,
       17   employees, and/or DOES 1 through 25, who authorized such acts while actively engaged in the
       18   operation, management, direction or control of the affairs of Defendant, at the Defendant's
       19   direction, and/or while acting within the course and scope of their duties.
       20                                         JURISDICTION AND VENUE
       21           12.       Plaintiff brings this action under California Civil Code sections 3479, 3480, and
       22   3494, California Code of Civil Procedure sections 526, 731, and Section 370 of the California
       23   Penal Code. Plaintiff seeks to enjoin Defendant from engaging in the conduct alleged in this
       24   Complaint and to recover fees, costs and penalties as permitted by law relating to this
       25   enforcement action.
       26           13.       Venue is proper in this judicial district because the Railroad ROW and the
       27   nuisance conduct at issue are located in this judicial district.
       28   ///

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              Complaint for 1. Public Nuisance (California Code of Civil Procedure §731; California Civil Code §§3479, 3480); and
                                                           2. Public Nuisance Per Se


                                                                                                                         Exhibit A - 5
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        1                                          FACTUAL ALLEGATIONS
        2                            THE PARTIES' RESOURCES AND CAPACITIES
        3           14.        The City of Santa Ana has a population of approximately 340,000 and covers 27
        4   square miles. It is ethnically diverse and boasts an ethnic make-up as follows: 78% Hispanic,
        5   10% Asian, 9% White, and other ethnicities in smaller percentages. The average median income
        6   in Santa Ana is approximately $54,500, as compared to the median income in Orange County of
        7   $75,400. Santa Ana has the highest Hispanic population in the County and is one of the lowest
        8   income cities in the County.
        9           15.        Among cities of over 300,000 residents, Santa Ana is the fourth most densely
       10   populated city in the nation, with over 12,471 people per square mile.
       11           16.        As one of the nation's largest railroads, Union Pacific is an economic giant and
       12   financially robust. Union Pacific is a "Class 1" Railroad that is part of the national freight rail
       13   industry fueled by billions of dollars in annual private investment. In 2017, according to the
       14   Association of American Railroads, Class 1 Railroads' operations and capital investments
       15   supported over 1.1 million jobs, $219.5 billion in economic output, and $71.3 billion in wages,
       16   while creating nearly $26 billion in total tax revenues.
       17           17.        Union Pacific's own financial and operational resources are enormous. For the
       18   full year of 2018, Union Pacific reported a net income of $6 billion. Nationally, it operates
       19   32,200 miles of track, with approximately 3,303 miles of track in California alone.
       20           18.        Under the Obama administration, the nation's freight rail network, including
       21   Union Pacific, received more than $600 billion in federal subsidies to maintain their
       22   infrastructures.
       23                            CONDITIONS ALONG THE RAILROAD ROW
       24           19.     The Railroad ROW has nevertheless become a virtual trash dump. Litter and
       25   debris, both small- and large-scale, from clothing to appliances, clutter the Railroad ROW in
       26   multiple areas in the City, transforming them into eyesores and interfering with the use of
       27   neighboring land owned by the adjoining residents and businesses.
       28          20.       Photographs attached as Exhibit A of the Railroad ROW at various locations

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             Complaint for 1. Public Nuisance (California Code of Civil Procedure §731; California Civil Code §§3479, 3480); and
                                                          2. Public Nuisance Per Se


                                                                                                                         Exhibit A - 6
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        1   graphically depict the extreme, unsanitary conditions along the ROW in the last few months
            alone.
        3            21.     These conditions have been exacerbated by the continuing crisis in homelessness
        4   faced by Orange County. For its part, and among other efforts, the City of Santa Ana operates a
        5   200-bed low barrier homeless shelter, where individuals experiencing homelessness in the City

        6   are referred for access to a wide variety of resources.

        7            22.     The Railroad ROW conditions persist because there is no sustained maintenance

        8   efforts by Union Pacific and no controlled access or security on most if not all of the Railroad
        9   ROW, thereby allowing the at-will ingress and egress of both property and individuals. Even
       10   simple measures like gates or regular security patrols would mitigate the circumstances.
       11            23.     The dangerous and unsanitary conditions along the Railroad ROW constitute a
       12   serious threat to the public health and safety for all those individuals encountering them,
       13   including homeless persons themselves. There is continuing potential for outbreak of grave
       14   disease and disaster.
       15            24.     Such consequences have in fact already materialized. In one of the numerous
       16   incidents, on or about March 28, 2019, fire broke out at one spot along the Railroad ROW,
       17   posing an immediate threat to persons, property, and businesses. Emergency authorities
       18   responded and controlled the situation with no loss of life, though it raised the specter of a more

       19   deadly catastrophe.
       20                                  ADVERSE IMPACTS ON SANTA ANA

       21            25.     Union Pacific, like all private property owners, has a duty to maintain its property
       22   in a safe and orderly manner. However, it appears either unwilling or unable to do so.
       23            26.     The City has repeatedly notified Union Pacific about the disorderly and unsafe
       24   conditions along the Railroad ROW and implored it to address the conditions. Union Pacific

       25   rarely responds by coming to the affected areas and cleaning them, instead providing only verbal

       26   assurance that they will do so by some indefinite date. Residents who complain directly to
       27   Union Pacific meet with the same result.

       28            27.    As one example of Union Pacific's inadequate efforts. in late 2019, Union Pacific

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             Complaint for 1. Public Nuisance (California Code of Civil Procedure §731; California Civil Code §§3479. 3480); and
                                                          2. Public Nuisance Per Se


                                                                                                                         Exhibit A - 7
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        1   represented it would spend thirty days on the Railroad ROW for clean-up efforts but in the end
        2   fell short of this by several days without any further or sustained commitment, leaving the
        3   Railroad ROW in no better condition.
        4           28.      As a direct result of Union Pacific's failure to maintain the Railroad ROW, and to
        5   combat the continuing threat to public health and safety, the City has been compelled to take
        6   action itself. While the City has been reluctant because the Railroad ROW is private property,
        7   the threat is overwhelming and simply cannot go unaddressed lest additional public health and
        8   safety disasters occur.
        9           29.      The City has had to obtain several inspection and abatement warrants at
       10   considerable costs. Since May 2019, the City has obtained 7 inspection and abatement warrants
       11   from the Orange County Superior Court. These efforts have consumed extensive efforts and
       12   resources from multiple agencies at the City and have cost the City $118,462 to date. In
       13   accordance with the City's municipal code, including the adoption of the requisite resolutions,
       14   Santa Ana has billed Union Pacific for recovery of these costs but has received nothing to date,
       15   even though Union Pacific has acknowledged the amounts, once appearing before the City
       16   Council to address them.
       17          30.       The impact to the City of Union Pacific's failure to address the Railroad ROW has
       18   been staggering. The City continues to provide maintenance services on the Railroad ROW that
       19   Union Pacific itself should be providing. These services have siphoned away both time and
       20   money from the day-to-day services required for City residents. Since June 2020, the City has
       21   issued Union Pacific nearly $14,000 in administrative citation fines regarding maintenance
       22   concerns on the Railroad ROW, but not even this has resulted in any improvement.
       23          31.       This situation has become untenable and will remain so without any contribution
       24   of effort from Union Pacific. The situation was well-documented in the article entitled "OC
       25   Cities Struggle with Resources to Clean Up Railroad Homeless Camps," as appearing in the
       26   Voice of OC on April 16, 2019, and available at haps://voiceofoc.org./2019/04loc-cities-struggle-
       27   with-resources-to-clean-up-rai (road-homeless-camps/.
       28          32.       Even if homeless-related issues have contributed to the problem, the City cannot

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             Complaint for 1. Public Nuisance (California Code of Civil Procedure §731; California Civil Code §§3479, 3480); and
                                                          2. Public Nuisance Per Se


                                                                                                                         Exhibit A - 8
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        1   maintain private property, especially when there has been little or no effort by Union Pacific to
        2   secure or maintain the Railroad ROW, when it has a legal duty, not to mention abundant
        3   resources, to do this.
        4                                              THE WAY FORWARD
        5            33.       By this litigation, the City seeks to compel Union Pacific to perform ordinary
        6   maintenance and upkeep of the Railroad ROW, just as any other private property owner would,

        7   and to compensate the City for the efforts it has expended to date in performing such

        8   maintenance itself.

        9            34.      The conditions along the Railroad ROW have become injurious to the public

       10   health and safety, with no foreseeable end in sight due to the inaction of Union Pacific. It is no

       11   understatement that they have affected the entire City of Santa Ana.

       12            35.      Even though the City has been forced to clean and maintain the Railroad ROW at

       13   times, this is not a viable path going forward because the Railroad ROW is private property and

       14   not owned by the City. Union Pacific has even admonished the City against trespassing on the

       15   Railroad ROW but on the other hand seems content for the City to be doing its job, at the City's

       16   own expense. Santa Ana Police Officers have had to provide security on several occasions for

       17   these efforts, when Union Pacific maintains a police force of its own.

       18           36.       Despite being repeatedly and openly castigated by the federal court handling

       19   litigation over issues related to homelessness, Union Pacific appears impervious to the situation.

       20   Accordingly, judicial intervention has now become necessary.

       21                                           FIRST CAUSE OF ACTION

       22                                                   Public Nuisance

       23           (California Code of Civil Procedure §731; California Civil Code §§ 3479, 3480)

       24           37.       Plaintiff City of Santa Ana incorporates by reference and realleges Paragraphs 1

       25   through 36 as if fully set forth herein.

       26           38.       California Civil Code section 3479 defines a public nuisance as "[a]nything

       27   which is injurious to health, including, but not limited to, the illegal sale of controlled

       28   substances, or is indecent or offensive to the senses, or an obstruction to the free use of property,

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              Complaint for 1. Public Nuisance (California Code of Civil Procedure §731; California Civil Code §§3479, 3480); and
                                                           2. Public Nuisance Per Se


                                                                                                                          Exhibit A - 9
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        1   so as to interfere with the comfortable enjoyment of life or property..." (See City of Bakersfield
            v. Miller (1966) 64 Cal.2d 93, 99 ["The Legislature has defined in general terms the word
        3   'nuisance' in Civil Code section 3479 ...."].)
        4            39.      California Civil Code section 3480 defines a public nuisance as "one which

        5   affects at the same time an entire community or neighborhood, or any considerable number of

        6   persons, although the extent of the annoyance or damage inflicted upon individuals may be

        7   unequal."

        8            40.      California Civil Code section 3491 provides for the methods by which public

        9   nuisances such as those alleged herein may be abated. Civil Code section 3491 states that the
       10   "remedies against a public nuisance are indictment or information, a civil action or abatement."

       11   Abatement is "accomplished by a court of equity by means of an injunction proper and suitable
       12   to the facts of each case." (Sullivan v. Royer (1887) 72 Cal. 248, 249.)

       13            41.      The City brings this action pursuant to California Code of Civil Procedure section

       14   731, which authorizes a city attorney to bring an action to enjoin or abate a public nuisance.
       15           42.       Union Pacific is strictly liable for nuisance conditions on its property. "[S]trict

       16   liability for nuisance historically attends the possession and control of land." (Leslie Salt Co. v.

       17   San Francisco Bay Conservation and Development Commission (1984) 153 Ca1.App.3d 605,

       18   618 n. 15 & 619). "It is immaterial whether the acts' of the persons sought to be held liable for a
       19   nuisance "be considered willful or negligent; the essential fact is that, whatever be the cause, the

       20   result is a nuisance." (Snow v. Marian Really Company (1931) 212 Cal. 622, 625-26; see also
       21   Sturges v. Charles L. Harney, Inc. (1958) 165 Cal.App.2d 306, 318 ["a nuisance and liability

       22   therefore may exist without negligence"]; People v. McCadden (1920) 48 Cal.App. 790, 792 ["A

       23   judgment supported on findings that such nuisance was conducted and maintained on the
       24   premises in question, regardless of the knowledge of the owner thereof, is sufficient. Such

       25   knowledge on the part of the owner. . . is unnecessary."].) This strict standard applies because

       26   "the object of the act is not to punish., its purpose is to effect a reformation of the property itself."
       27   (People v. Bayside Land Co. (1920) 48 Cal.App. 257, 261.)

       28           43.       Union Pacific has caused and maintained a continuing public nuisance on the

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              Complaint for 1. Public Nuisance (California Code of Civil Procedure §731; California Civil Code §§3479. 3480); and
                                                           2. Public Nuisance Per Se


                                                                                                                        Exhibit A - 10
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        1   Railroad ROW since at least 2019 or before. At the time of trial, City will move the Court to
        2   amend this Complaint to include any conditions discovered or occurring after the filing of this
        3   Complaint. Such condition renders the Railroad ROW a public nuisance because of the
        4   tremendous amounts of trash, rubbish, debris, brush, and dead vegetation constituting a
        5   continuing significant fire hazard. Further, the Railroad ROW is a nuisance due to Union
        6   Pacific's complete failure to manage or patrol its property, resulting in continuous unauthorized
        7   access to the property and the occupation of said property by individuals experiencing
        8   homelessness and other persons. The combination of these factors has created a public health
        9   and safety crisis on the Railroad ROW, endangering the community at large, as well as those
       10   who occupy the ROW.
       11            44.      Union Pacific's maintenance of the Railroad ROW in this substandard condition
       12   is a continuing public nuisance as defined in Civil Code sections 3479 and 3480. The continuing
       13   nuisance conditions at the ROW adversely affect the adjoining neighborhoods and the entire
       14   community. The Railroad ROW's current condition is injurious to health, offensive to the
       15   senses, and obstructs the free of neighboring public and private properties by interfering with the
       16   comfortable enjoyment of life or property. Such conditions are objectionable to the
       17   neighborhoods and community as a whole.
       18           45.       Union Pacific has been repeatedly notified in writing that the conditions on the
       19   Railroad ROW violate Santa Ana Municipal Code ("SAMC") sections 16-48, et seq. Despite
       20   such notices, Union Pacific has not taken sufficient action to correct the violations. Further,
       21   Union Pacific has not indicated to Plaintiff any intention to permanently take responsibility for
       22   their properties in a manner that would alleviate the nuisance conditions thereon. Unless Union
       23   Pacific is restrained by order of this Court, it will continue to maintain the Railroad ROW in the
       24   above-described nuisance condition, thereby causing irreparable injury and harm to the public's
       25   health, safety, and welfare.
       26           46.       Plaintiff City has no adequate remedy at law and injunctive relief is expressly
       27   authorized by California Code of Civil Procedure sections 526 and 731.
       28           47.       As discussed above, Plaintiff has already incurred substantial costs to abate the

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              Complaint for 1. Public Nuisance (California Code of Civil Procedure §731; California Civil Code §§3479, 3480); and
                                                           2. Public Nuisance Per Se


                                                                                                                        Exhibit A - 11
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         1   nuisances caused by Union Pacific's refusal to maintain its properties. Should it become
        2    necessary for Plaintiff to take additional actions to correct the violations and abate the nuisance
        3    on the Railroad ROW, Plaintiff will incur substantial additional expenses. Plaintiff requests
        4    reimbursement for all costs already expended and seeks further reimbursement for all future
        5    costs incurred to correct these violations and abate the public nuisance.
        6                                          SECOND CAUSE OF ACTION
        7                                                Public Nuisance Per Se
        8                    (Civ. Code §§ 3479, 3480, 3491, 3494; Code Civ. Proc. §§ 526, 731)
        9                                              (SAMC §§ 1-8, 1-12, 1-13)
       10             48.      Plaintiff City alleges and incorporates as though fully set forth herein Paragraphs
       11    1 through 47, above.
       12            49.       Pursuant to Article XI, section 7 of the Constitution of the State of California,
       13    "[a] county or city may make and enforce within its limits all local, police, sanitary, and other
       14    ordinances and regulations not in conflict with general laws."
       15            50.       California Government Code section 38771 authorizes the Santa Ana City
       16    Council, by ordinance, to declare what constitutes a nuisance.
       17            51.       Section 200 of the Santa Ana City Charter states that the City shall have the
       18    authority to "make and enforce all laws and regulations in respect to municipal affairs..."
       19    Accordingly, the City has the authority to make and enforce laws that bar the existence of
       20    garbage, rubbish, weeds, trash and debris from private property.
       21            52.       Section 16-48 of the SAMC holds that any person who owns, manages, or
       22    controls private property may not allow the growth of "noxious" weeds, vines, or brush upon the
       23    property, nor may they cause or permit garbage or rubbish to be placed or exist upon the
       24    property. The City adopted this ordinance to promote the public safety and general welfare for
       25    the City and its residents.
       26            53.       SAMC section 1-13(a) provides that any violation of the City's Municipal Code
       27    is deemed a public nuisance, which may be abated by civil action.
       28            54.      As discussed in depth above, at all times herein mentioned, Defendants have

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               Complaint for 1. Public Nuisance (California Code of Civil Procedure §731; California Civil Code §§3479, 3480); and
                                                            2. Public Nuisance Per Se


                                                                                                                         Exhibit A - 12
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             maintained the Railroad ROW within the City in violation of the SAMC, specifically sections
             16-48, et seq.
         3            55.      The continued nuisance conditions upon the Railroad ROW are a public nuisance
         4   subject to abatement by civil action under applicable law including, but not limited to, Civil

         5   Code sections 3479, 3480, 3491 and 3494.
         6            56.      The City has no plain, speedy, or adequate remedy at law, and injunctive relief is
         7   necessary and authorized in Code of Civil Procedure sections 526 and 731.
         8            57.      The Court is expressly authorized under Code of Civil Procedure section 731 to

         9   fashion injunctive relief to abate the public nuisances that exist on the Property.
        10            58.      Unless preliminarily and permanently enjoined by this Court, Defendant will
        11   continue to maintain the public nuisance and prevent the City from effectively enforcing its
        12   laws.
        13                                              PRAYER FOR RELIEF

       14             WHEREFORE, Plaintiff City of Santa Ana prays for the following:
       15             1.       That the Railroad ROW be declared a public nuisance and be permanently abated

       16    as such in accordance with California Civil Code sections 3479 and 3480.
       17            2.        That the Court find that Union Pacific and its agents, heirs, successors, officers,

       18    employees and anyone acting on its behalf have owned, operated, maintained, and managed the

       19    Railroad ROW in a manner that is a public nuisance.

       20            3.       That the Court grant a preliminary injunction, temporary restraining order,
       21    permanent injunction, order of abatement, and judgment in accordance with Civil Code section
       22    3491, enjoining and restraining anyone and those acting on their behalf from owning, operating,
       23    maintaining, and managing the Railroad ROW as a public nuisance, and to bring the Railroad
       24    ROW into compliance with all Federal, State, and local regulations.

       25            4.       That Union Pacific and its agents, heirs, successors, officers, employees and

       26    anyone acting on its behalf be held jointly and severally liable for all damages, penalties and
       27    other relief awarded in favor of Plaintiff and against Defendants.
       28            5.        Monetary damages pursuant to proof at trial to cover the City's costs to address

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               Complaint for 1. Public Nuisance (California Code of Civil Procedure §731; California Civil Code §§3479, 3480); and
                                                            2. Public Nuisance Per Se


                                                                                                                         Exhibit A - 13
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         1   the dangerous and nuisance conditions that were allowed to remain on the Railroad ROW by
        2    Union Pacific.
        3              6.     That Union Pacific be restrained and enjoined from transferring ownership of the
        4    Railroad ROW and associated properties unless there is compliance with all applicable orders of
        5    this Court and requests by the City, and the Court and City have approved of such.
        6              7.     That the Court grant City such other and further relief as the Court deems just and
        7    proper.
        8
                                                                    CITY OF SANTA ANA
        9                                                           Sonia R. Carvalho, City Attorney
       10
       11    Dated: September 9, 2020                         B .
                                                                     hn M. Funk
       12                                                           Acting Sr. Assistant City Attorney
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              Complaint for 1. Public Nuisance (California Code of Civil Procedure §731; California Civil Code §§3479, 3480); and
                                                           2. Public Nuisance Per Se


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Case 8:20-cv-01992-CJC-DFM Document 1-2 Filed 10/16/20 Page 13 of 21 Page ID #:55




                     EXHIBIT A




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